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                                                                 L.B.F. 3015.1
                                                   UNITED STATES BANKRUPTCY COURT
                                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In re: Angel Luis Leon, III                                                             Case No.:
                                                                                         Chapter 13
                                            Debtor(s)

                                                                              Chapter 13 Plan

    Original

             Amended

Date: April 21, 2022
                                                                     THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                                     CHAPTER 13 OF THE BANKRUPTCY CODE
                                                                       YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the confirmation
hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers
carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN MUST FILE A
WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4. This Plan may be confirmed and become binding,
unless a written objection is filed.

                                  IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                                MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                               NOTICE OF MEETING OF CREDITORS.
 Part 1: Bankruptcy Rule 3015.1(c) Disclosures

                                 Plan contains non-standard or additional provisions – see Part 9

                                 Plan limits the amount of secured claim(s) based on value of collateral – see Part 4

                                 Plan avoids a security interest or lien – see Part 4 and/or Part 9


 Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE
     § 2(a) Plan payments (For Initial and Amended Plans):

             Total Length of Plan: 60 months.

             Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $ 43,200.00
             Debtor shall pay the Trustee $ 720.00 per month for 60 months; and then
             Debtor shall pay the Trustee $      per month for the remaining        months.

                                                                                      OR

             Debtor shall have already paid the Trustee $                    through month number     and then shall pay the Trustee $            per month for the
             remaining          months.

           Other changes in the scheduled plan payment are set forth in § 2(d)

    § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition to future wages (Describe source, amount and date
when funds are available, if known):

      § 2(c) Alternative treatment of secured claims:
         None. If “None” is checked, the rest of § 2(c) need not be completed.
              Sale of real property
           See § 7(c) below for detailed description
              Loan modification with respect to mortgage encumbering property:
           See § 4(f) below for detailed description

      § 2(d) Other information that may be important relating to the payment and length of Plan: 60 months

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      § 2(e) Estimated Distribution

              A.         Total Priority Claims (Part 3)

                         1. Unpaid attorney’s fees                                               $                              4,724.00

                         2. Unpaid attorney’s cost                                               $                                   0.00

                         3. Other priority claims (e.g., priority taxes)                         $                                   0.00

              B.         Total distribution to cure defaults (§ 4(b))                            $                             19,000.00

              C.         Total distribution on secured claims (§§ 4(c) &(d))                     $                                   0.00

              D.         Total distribution on general unsecured claims (Part 5)                 $                             15,156.00

                                                                     Subtotal                    $                             38,880.00

              E.         Estimated Trustee’s Commission                                          $                              4,320.00


              F.         Base Amount                                                             $                             43,200.00

      §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

             By checking this box, Debtor’s counsel certifies that the information contained in Counsel’s Disclosure of Compensation [Form
B2030] is accurate, qualifies counsel to receive compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court approve counsel’s
compensation in the total amount of $ 4,725.00 with the Trustee distributing to counsel the amount stated in §2(e)A.1. of the Plan.
Confirmation of the plan shall constitute allowance of the requested compensation.

 Part 3: Priority Claims

             § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor agrees otherwise:

 Creditor                                                Claim Number           Type of Priority              Amount to be Paid by Trustee
 David M. Offen                                                                 Attorney Fee                                                       $ 4,724.00

             § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full amount.

                          None. If “None” is checked, the rest of § 3(b) need not be completed or reproduced.

 Part 4: Secured Claims

             § 4(a) ) Secured Claims Receiving No Distribution from the Trustee:

                          None. If “None” is checked, the rest of § 4(a) need not be completed or reproduced.

             § 4(b) Curing default and maintaining payments

                          None. If “None” is checked, the rest of § 4(b) need not be completed.

         The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor shall pay directly to creditor
monthly obligations falling due after the bankruptcy filing in accordance with the parties' contract.

 Creditor                                           Claim Number                        Description of Secured Property   Amount to be Paid by Trustee
                                                                                        and Address, if real property
 Pennsylvania Housing                               5499                                6162 Montague Street                                      $19,000.00
 Finance Agency                                                                         Philadelphia, PA 19135

          § 4(c) Allowed Secured Claims to be paid in full: based on proof of claim or pre-confirmation determination of the amount, extent
or validity of the claim


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                          None. If “None” is checked, the rest of § 4(c) need not be completed or reproduced.

             § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506

                          None. If “None” is checked, the rest of § 4(d) need not be completed.

             § 4(e) Surrender

                          None. If “None” is checked, the rest of § 4(e) need not be completed.

             § 4(f) Loan Modification

                  None. If “None” is checked, the rest of § 4(f) need not be completed.

 Part 5:General Unsecured Claims

             § 5(a) Separately classified allowed unsecured non-priority claims

                          None. If “None” is checked, the rest of § 5(a) need not be completed.

             § 5(b) Timely filed unsecured non-priority claims

                           (1) Liquidation Test (check one box)

                                             All Debtor(s) property is claimed as exempt.

                                             Debtor(s) has non-exempt property valued at $       for purposes of § 1325(a)(4) and plan provides for
                                             distribution of $     to allowed priority and unsecured general creditors.

                           (2) Funding: § 5(b) claims to be paid as follows (check one box):

                                             Pro rata

                                100%
 Part 6: Executory Contracts & Unexpired Leases

                          None. If “None” is checked, the rest of § 6 need not be completed or reproduced.

 Part 7: Other Provisions

             § 7(a) General Principles Applicable to The Plan

             (1) Vesting of Property of the Estate (check one box)
                          Upon confirmation
                          Upon discharge

          (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in its proof of claim controls over
any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

           (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B), (C) shall be disbursed
to the creditors by the debtor directly. All other disbursements to creditors shall be made to the Trustee.

          (4) If Debtor is successful in obtaining a recovery in personal injury or other litigation in which Debtor is the plaintiff, before the
completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a special Plan payment to the
extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor or the Trustee and approved by the court..

          § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence
          (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.
          (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as provided for by
the terms of the underlying mortgage note.




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           (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding the imposition
of late payment charges or other default-related fees and services based on the pre-petition default or default(s). Late charges may be assessed on
post-petition payments as provided by the terms of the mortgage and note.
           (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor pre-petition, and the Debtor
provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume sending customary monthly statements
           (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for payments prior to the
filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this case has been filed.
           (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.

             § 7(c) Sale of Real Property

             None. If “None” is checked, the rest of § 7(c) need not be completed.
 Part 8: Order of Distribution

             The order of distribution of Plan payments will be as follows:

             Level 1: Trustee Commissions*
             Level 2: Domestic Support Obligations
             Level 3: Adequate Protection Payments
             Level 4: Debtor’s attorney’s fees
             Level 5: Priority claims, pro rata
             Level 6: Secured claims, pro rata
             Level 7: Specially classified unsecured claims
             Level 8: General unsecured claims
             Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to exceed ten (10) percent.

 Part 9: Nonstandard or Additional Plan Provisions

Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the applicable box in Part 1 of this Plan is checked.
Nonstandard or additional plan provisions placed elsewhere in the Plan are void.

           None. If “None” is checked, the rest of Part 9 need not be completed.

 Part 10: Signatures

          By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no nonstandard or additional
provisions other than those in Part 9 of the Plan, and that the Debtor(s) are aware of, and consent to the terms of this Plan.

 Date:       April 21, 2022                                                         /s/ David M. Offen
                                                                                    David M. Offen
                                                                                    Attorney for Debtor(s)

             If Debtor(s) are unrepresented, they must sign below.

 Date:       April 21, 2022                                                         /s/ Angel Luis Leon, III
                                                                                    Angel Luis Leon, III
                                                                                    Debtor

 Date:
                                                                                    Joint Debtor




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